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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      :
BOOTH FAMILY TRUST,                                   :
                                                      :    Case No. 20-cv-02885-LGS
                       Plaintiff,                     :
                                                      :
        v.                                            :    NOTICE OF VOLUNTARY
                                                      :    DISMISSAL
MYLAN N.V., HEATHER BRESCH,                           :
ROBERT J. CINDRICH, ROBERT J.                         :
COURY, JOELLEN LYONS DILLON, NEIL                     :
DIMICK, MELINA HIGGINS, HARRY A.                      :
KORMAN, RAJIV MALIK, RICHARD                          :
MARK, MARK W. PARRISH, RANDALL                        :
L. VANDERVEEN, PAULINE VAN DER                        :
MEER MOHR, and SJOERD S.                              :
VOLLEBREGT,                                           :
                                                      :
                       Defendants.                    :


       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Booth Family Trust (“Plaintiff”) voluntarily dismisses the claims in the captioned action

(the “Action”). Because this notice of dismissal is being filed with the Court before service by

defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the

Action is effective upon the filing of this notice.


 Dated: June 30, 2020                                      WEISSLAW LLP


                                                      By
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